                           EXHIBIT C




Declaration of Omar Gonzalez-Pagan in support of
Motion to Exclude Expert Testimony of Dr. Paul W. Hruz
Kadel v. Folwell, No. 1:19-cv-00272-LCB-LPA (M.D.N.C.)

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1                              UNITED STATES DISTRICT COURT
                                             FOR THE
2                               MIDDLE DISTRICT OF FLORIDA
3
        DREW ADAMS, a minor,           )
4                                      )
                       Plaintiff,      )
5                                      )
               vs.                     )Civil Action
6                                      )No.3:17-cv-00739-TJC-JBT
        THE SCHOOL BOARD OF ST. )
7       JOHNS COUNTY, FLORIDA,         )
                                       )
8                      Defendant.      )
9
10
11
12             VIDEOTAPED DEPOSITION OF PAUL W. HRUZ, M.D., Ph.D
13                              Taken on behalf of Plaintiff
14                                   November 20, 2017
15                  (Starting time of the deposition:         8:58 a.m.)
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25

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17      transcript.)
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1                             UNITED STATES DISTRICT COURT
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2                               MIDDLE DISTRICT OF FLORIDA
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        DREW ADAMS, a minor,           )
4                                      )
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               vs.                     )Civil Action
6                                      )No.3:17-cv-00739-TJC-JBT
        THE SCHOOL BOARD OF ST. )
7       JOHNS COUNTY, FLORIDA,         )
                                       )
8                    Defendants.       )
9
10                   VIDEOTAPED DEPOSITION OF WITNESS, PAUL W.
11      HRUZ, M.D., Ph.D., produced, sworn, and examined on
12      the 20th day of November, 2017, between the hours of
13      nine o'clock in the forenoon and six o'clock in the
14      evening of that day, at the offices of Veritext Legal
15      Solutions, 515 Olive Street, Suite 300, St. Louis,
16      Missouri before BRENDA ORSBORN, a Certified Court
17      Reporter within and for the State of Missouri, in a
18      certain cause now pending in the United States
19      District Court for the Middle District of Florida,
20      wherein Drew Adams, a minor, is the Plaintiff and The
21      School Board of St. Johns County, Florida is the
22      Defendant.
23
24
25

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1              Q.   So is that a "yes" or a "no"?
2              A.   That is a -- to make sure I understand the
3       question again, please address it again.
4              Q.   If Drew asked you to use male pronouns,
5       would you use male pronouns?
6              A.   Yes.
7              Q.   In your practice -- and I take it you've
8       been practicing for several years, so in your
9       practice, how many transgender patients have you
10      treated in the past five years?
11             A.   As stated explicitly in my declaration, I
12      intentionally do not treat transgender patients.
13             Q.   At all?
14             A.   That is correct.
15             Q.   In any -- for any treatment?
16             A.   Oh, the ones that I'm aware of, I have not
17      encountered any patients that have presented to me as
18      transgendered for any other conditions.             I have
19      certainly encountered many patients where that was
20      something under consideration or something that I
21      suspected, but nobody has ever mentioned directly to
22      me that they were transgendered.
23             Q.   Okay.     So to your knowledge, you have not
24      treated any person that you knew was transgender?
25                  MR. KOSTELNIK:        Form.

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1              A.    Well, again, if you would -- yeah, that is
2       true for -- for the -- the patient -- somebody like
3       Drew Adams that was biologically normal.               I have
4       certainly cared for hundreds of patients that have
5       disorders of sexual development.               Many practitioners
6       will include those in that designation.               I believe
7       that they are a completely different patient
8       population than Drew Adams.
9              Q.    (By Mr. Gonzalez-Pagan) What is gender
10      dysphoria?
11             A.    Gender dysphoria is the discomfort that one
12      experiences related to gender identity that does not
13      conform with one's biological sex.
14             Q.    Is that the definition in the DSM?
15             A.    Yes.
16             Q.    It uses the word "discomfort"?
17             A.    I'd have to go look back at the exact
18      wording of that.      It's the difficulty that they
19      experience, psychological difficulty with that, yes.
20             Q.    Okay.   And based on your testimony, would
21      you agree that you have not treated any transgender
22      patients for gender dysphoria?
23             A.    Yes, I would agree.
24             Q.    Would you agree that Drew's treating
25      physicians have diagnosed him with gender dysphoria?

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1       the person putting forward this clinic and trying to
2       understand what care that was being proposed to be
3       provided in the setting of that context in my role as
4       the director of our -- or the chief of our division of
5       endocrinology.
6              Q.    Just to be clear, though, you have never sat
7       in a meeting between a provider and a patient
8       discussing their treatment options for gender
9       dysphoria?
10             A.    That is correct, I've never been in the room
11      with a patient while that care is being discussed.
12             Q.    All right.     Would you agree that Drew Adams'
13      doctors have concluded that gender-affirming treatment
14      is appropriate treatment for him?
15             A.    That is what they concluded, yes.
16             Q.    Would you agree that Drew Adams' doctors
17      have concluded that the gender-affirming treatment has
18      been helpful to Drew?
19             A.    I believe that that's what they claim, yes.
20             Q.    Do you agree that Drew Adams' gender-
21      affirming treatment has been beneficial for him?
22             A.    It depends on what you mean by beneficial.
23      I think that it is far too early to know what the
24      long-term outcome -- outcomes are going to be from
25      what is being provided for Drew Adams.

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1              Q.   As we stand here today, has the
2       gender-affirming treatment been beneficial to Drew
3       with regards to his gender dysphoria?
4                   MR. KOSTELNIK:        Object to form.
5              A.   So similar to the literature that has
6       already been published in this area, Drew, by the
7       reports that I've read, is experiencing a -- a
8       lessening of the dysphoria in relation to the gender
9       discordance, and I would say that based on the
10      information that I saw, the answer is yes.
11             Q.   (By Mr. Gonzalez-Pagan) As we stand here
12      today, do you agree that Drew Adams' gender-affirming
13      treatment has improved his quality of life?
14             A.   So again, I can't say with certainty what
15      actually has improved his quality of life.              I can say,
16      based on the record, that he is better adjusted than
17      previously.
18             Q.   Dr. Hruz, you're an endocrinologist,
19      correct?
20             A.   That is correct.
21             Q.   You're not a psychiatrist, correct?
22             A.   That is correct.
23             Q.   You're not a psychologist?
24             A.   That is correct.
25             Q.   Are you a licensed mental healthcare

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1       provider of any kind?
2              A.   I am not.
3              Q.   Can you diagnose gender dysphoria?
4              A.   I can -- I can diagnose gender dysphoria to
5       the extent that my colleagues, as pediatric
6       endocrinologists, follow the DSM-5 and look at the
7       criteria and put the check boxes there.              That is the
8       extent of what my colleagues, as pediatric
9       endocrinologists, do, and I'm just as capable of doing
10      that as they are.
11             Q.   As an endocrinologist, do you routinely
12      diagnose conditions in the DSM-5?
13             A.   I -- I do not -- well, let me -- I'm
14      trying -- the reason I'm waiting is I'm trying to
15      think as I put in my ICD9 codes in my visits, I do
16      believe that I've actually added them, but I do not
17      consider myself as a psychiatrist to making those
18      diagnoses, no.
19             Q.   Do you have any basis to know whether Drew
20      Adams has suffered distress as a result of being
21      denied access to the restroom consistent with his
22      gender identity?
23             A.   I can only evaluate what is contained within
24      his patient chart and the literature -- or the
25      information that was provided to me.

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1       whether the person they're using right now is not
2       specifically dedicated to the clinic, but there are
3       many psychologists there at Children's Hospital, and I
4       certainly could refer them to one of those
5       psychologists, that's correct.
6              Q.   Just to clarify, would you discourage them
7       from using the transgender center at your university?
8              A.   I would neither encourage nor discourage.                 I
9       would merely state that I do not agree with the
10      treatment that is being done in that clinic.
11             Q.   And that treatment is the treatment that is
12      in accordance with the Endocrine Society's clinical
13      guidelines?
14             A.   That is correct.
15             Q.   And in accordance with the WPATH standards
16      of care?
17             A.   As I understand it.
18             Q.   And the treatment that is being allowed by
19      the Washington University at the clinic?
20             A.   Yes.
21             Q.   Would you tell the patient that?
22             A.   Excuse me.       Tell them what?
23             Q.   That the care provide -- would you tell the
24      patient that the care provided at the transgender
25      center is in accordance with the Endocrine Society's

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1       clinical guidelines?
2              A.   I would let them know that the clinic was
3       available, and I would let the people in that clinic,
4       if they chose to attend that clinic, present all of
5       the information for the basis for their treatment
6       approach.
7              Q.   So you wouldn't inform the patient that the
8       treatment is in accordance with the clinical
9       guidelines?
10             A.   I'm envisioning the hypothetical situation
11      that you're talking about, and the extent of my normal
12      clinic visit and how much time I have to present all
13      of the -- the important aspects of clinical care, and
14      I'm envisioning that there would be a limit of the --
15      the length of that conversation if I was going to
16      adequately address all of the other relevant issues
17      that I was caring that patient for [sic].
18             Q.   Would you suggest that the patient seek
19      conversion therapy?
20             A.   No.
21             Q.   Is the treatment at the transgender center
22      consistent with the position and recommendations of
23      the American Medical Association?
24             A.   I -- as I understand it, yes.
25             Q.   Is the treatment at the transgender center

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1       consistent with the position and recommendations of
2       the American Academy of Pediatricians?
3              A.   The AAP, yes.
4              Q.   Is the treatment at the transgender center
5       consistent with the position and recommendations of
6       the American Psychiatric Association?
7              A.   I don't follow those as closely, but I would
8       assume yes.
9              Q.   Is the treatment at the transgender center
10      consistent with the position and clinical guidelines
11      of the American Psychological Association?
12             A.   The same as the last answer.            To my
13      knowledge, I don't know them specifically, but I would
14      say yes.
15             Q.   Okay.     Let's go a little bit for some of
16      your memberships.       You're a member of the American
17      Medical Association, right?
18             A.   No.
19             Q.   Were you a member of the American Medical
20      Association?
21             A.   I was in the past, yes.
22             Q.   Are you a member of the American Academy of
23      Pediatricians?
24             A.   Yes.
25             Q.   Is your position in your report and as you

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1       sit -- sit here today consistent with the position of
2       the American Academy of Pediatricians?
3              A.   It is not consistent with the -- the opinion
4       that is presented by the AAP.              Again, I will note that
5       is not a -- a position that has been voted upon by the
6       entire membership of the AAP.
7              Q.   Are the -- all the positions adopted by the
8       AAP voted upon by the membership?
9              A.   No.    In fact, they're usually voted on by a
10      very small select committee, a -- a very minority of
11      the entire academy.
12             Q.   So the position of the AAP on this subject
13      has been adopted via its regular procedures?
14             A.   Yes.    Which -- which I would add do not
15      involve membership of the entire academy.
16             Q.   Are you a member of the Endocrine Society?
17             A.   Yes, I am.
18             Q.   Are your positions here today and in your
19      report consistent with the clinical guidelines of the
20      Endocrine Society?
21             A.   They are at odds with the recommendations
22      that are put forward, the guidelines that are put
23      forward for the treatment of gender dysphoria.
24             Q.   You're a member of the Pediatric Endocrine
25      Society, correct?

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1              A.   Yes, I am.
2              Q.   Are your positions here today and the
3       positions in your report consistent with the positions
4       adopted by the Pediatric Endocrine Society?
5              A.   They are not, and I've actually written to
6       the PES on more than one occasion with my opinions and
7       invited them to dialogue about the -- the scientific
8       evidence that I have in dispute from -- that are
9       included per the recommendations.
10             Q.   And we've requested those comments, right?
11             A.   Yes.    And everything I have on file, I gave
12      you everything I have.          I don't have records of
13      anything that I did not send you.
14             Q.   You have published a body of literature in
15      your career, correct?         Right?
16             A.   That is correct.
17             Q.   How many peer-reviewed articles have you
18      written and published regarding gender identity?
19             A.   I have not published peer-reviewed articles
20      on gender identity.
21             Q.   How many peer-reviewed articles have you
22      written and published regarding transgender people?
23             A.   I have not written peer -- peer-reviewed
24      papers on that topic.
25             Q.   How many peer-reviewed articles have you

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1       written and published regarding the treatment of
2       transgender children and adolescents?
3              A.   Again, as peer-reviewed, I have not written
4       any.
5              Q.   How many peer-reviewed articles have you
6       written and published regarding the treatment of
7       gender dysphoria?
8              A.   I have not written any.
9              Q.   How many peer-reviewed articles have you
10      written and published regarding the use of restrooms
11      by transgender students?
12             A.   I have not written any.
13             Q.   How many studies have you conducted
14      regarding gender identity?
15             A.   Conducted, I have not conducted any, but I
16      am in the process right now of responding to a
17      research funding announcement by the NIH to be able to
18      engage in that research.
19             Q.   But just to be clear, you haven't conducted
20      any as we stand here today?
21             A.   That is correct.
22             Q.   And you -- have you submitted that proposal
23      to the NIH?
24             A.   I -- I have not.
25             Q.   How many studies have you conducted

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1       regarding transgender people?
2              A.   I have not.
3              Q.   How many studies have you conducted
4       regarding the treatment of transgender children and
5       adolescents?
6              A.   I have not.
7              Q.   How many studies have you conducted
8       regarding the treatment for gender dysphoria?
9              A.   I have not.
10             Q.   How many studies have you conducted
11      regarding the use of restrooms by transgender
12      students?
13             A.   I have not.
14             Q.   So you have no experience treating gender
15      dysphoria, right?
16             A.   Treating gender dysphoria?
17             Q.   Yes.
18             A.   I have not -- as I said earlier, I have not
19      treated patients with gender dysphoria.
20             Q.   And you have no experience conducting
21      studies regarding transgender youth and adolescents,
22      correct?
23             A.   Conducting studies, I have not, as I said,
24      have not participated in any studies to date.
25             Q.   And you have no experience conducting

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1       studies regarding gender dysphoria?
2              A.   I have not conduct -- as I said, I have not
3       conducted any studies on gender dysphoria.
4              Q.   Nor have you published any literature
5       regard -- regard -- peer-reviewed literature regarding
6       gender dysphoria?
7              A.   Peer-reviewed, no.
8              Q.   So having no experience treating transgender
9       patients for gender dysphoria, no experience
10      conducting studies regarding transgender people, and
11      no experience publishing peer-reviewed literature
12      regarding transgender people, you consider -- do you
13      consider yourself an expert on transgender issues?
14                  MR. KOSTELNIK:         Object to form.
15             A.   I am a physician/scientist who has
16      extensively read the literature for the merits, as I
17      do in any other condition, and I believe I have
18      expertise related to my role as a physician and a
19      scientist and a pediatric endocrinologist to
20      adequately assess the quality and quantity of the
21      literature that's present on this area.
22             Q.   (By Mr. Gonzalez-Pagan) And having no
23      experience treating gender dysphoria, no experience
24      conducting studies -- scratch that.
25                  Let's talk a little bit about your article,

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1       references that I provided, that it would not be
2       sufficient.
3              Q.   (By Mr. Gonzalez-Pagan) Okay.            Can you
4       please read for me the last paragraph?
5              A.   "In summary, as researchers and clinicians
6       with expertise in gender and sexuality, we affirm that
7       the 'Sexuality and Gender' report does not represent
8       prevailing expert consensus opinion about sexual
9       orientation or gender identity, related research or
10      clinical care."
11             Q.   Do you agree with that statement?
12             A.   To the extent that the paper, the "Sexuality
13      and Gender" paper, addresses the issue of consensus,
14      what we define by consensus -- so the -- there are
15      many individuals that signed this letter that have an
16      opinion that is not supported by the literature that's
17      cited in the "Sexuality and Gender" paper.               So if you
18      look to the specific information contained within that
19      paper and critically evaluate it, I think that it
20      would be at odds with what these individuals that have
21      signed this paper have put forward.
22             Q.   Is the position of the American Medical --
23      Medical Association at odds with the position of this
24      [sic] several hundreds of signatories?
25             A.   So the American Medical Association, all of

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1       the -- the organizations that we already mentioned
2       earlier in this deposition have similar statements
3       related to the treatment guidelines, and all of them
4       are limited by the lack of scientific justification or
5       evidence supporting those recommendations.
6              Q.   Okay.     And just to clarify, that's the
7       American Medical Association, right?
8              A.   That's one of the organizations, correct.
9              Q.   And the American Academy of Pediatricians,
10      right?
11             A.   That is correct.
12             Q.   And the American Psychological Association?
13             A.   That is correct.
14             Q.   And the American Psychiatric Association?
15             A.   That is correct.
16             Q.   And the Endocrine Society?
17             A.   That is correct.
18             Q.   And the Pediatric Endocrine Society?
19             A.   That is correct.
20             Q.   And the World Professional Association of
21      Transgender Health?
22             A.   That is correct.
23             Q.   All right.       Would you agree that your
24      article, Growing Pains, similarly does not reflect
25      current scientific or medical consensus about gender

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1       with that, so --
2              Q.   Is "Growing Pains" your only article on
3       transgender people and gender dysphoria?
4              A.   Yes.
5              Q.   Are you familiar with the St. John Paul II
6       Bioethics Center?
7              A.   Absolutely.
8              Q.   Is this St. John Paul II Bioethics Center a
9       religiously affiliated institution?
10             A.   Yes, it is.
11             Q.   Is it part of the Holy Apostles College and
12      Seminary?
13             A.   Yes, it is.
14             Q.   Did you speak at the St. John Paul II
15      Bioethics Center just three days ago, on Friday,
16      November 17th?
17             A.   I did, yes.
18             Q.   During your speech last Friday, did you --
19      you said, "The identity of the individual is
20      interactively linked to the body and the soul of the
21      person."    Is that right?
22                  MR. KOSTELNIK:         Form.
23             A.   Repeat that again, just so I make sure you
24      said that accurately.
25             Q.   (By Mr. Gonzalez-Pagan) During your speech

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1       last Friday, you said, "The identity of the individual
2       is interactively linked to the body and soul of a
3       person."    Is that correct?
4                   MR. KOSTELNIK:         Form.
5              A.   That is correct.
6              Q.   (By Mr. Gonzalez-Pagan) During your speech
7       last Friday, you said about being transgender, that,
8       in fact, it probably goes back to some of the early
9       heresies in the church; is that correct?
10             A.   The introduction that I was providing to
11      that audience was trying to put the context of the
12      discussion in the proper framework, and I specifically
13      made the statement that I am not a philosopher, that
14      I'm going to be talking about issues of science and
15      medicine.     And it was an introduction to that talk
16      to -- for that audience.
17             Q.   Okay.     Do you know who Caitlyn Jenner is?
18             A.   Yes, I do.
19             Q.   Caitlyn Jenner is a transgender woman,
20      correct?
21                  MR. KOSTELNIK:         Form.
22             A.   Caitlyn Jenner, formerly known as Bruce
23      Jenner, is somebody that has been widely advertised
24      in -- in the media related to the gender transition
25      that -- that Caitlyn underwent.

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1              Q.   (By Mr. Gonzalez-Pagan) Is Caitlyn Jenner
2       transgender?
3              A.   By definition, yes.
4              Q.   In referring to a picture of Caitlyn Jenner,
5       did you not say these pictures are often disturbing?
6              A.   I did.     And that was the slide --
7       specifically was the statement, not Caitlyn Jenner,
8       but there were two other pictures presented in that
9       talk of children saying I hate my body.              That was what
10      I was referring to.
11             Q.   Just to be clear, when it comes to the
12      treatment of transgender people and gender dysphoria,
13      your only publication is in a religiously-affiliated
14      journal and you've spoken to -- about the topic to
15      religiously-affiliated institutions?
16                  MR. KOSTELNIK:         Form.
17             A.   I have offered to speak at all institutions
18      that have invited me.         And to date, yes, that was --
19      that was the institute that -- that invited me to
20      speak last Friday.
21             Q.   (By Mr. Gonzalez-Pagan) When did you first
22      become interested in the matter of transgender people
23      and the treatment of -- for gender dysphoria?
24             A.   It was about five to six years ago, as chief
25      of our Division of Endocrinology, when the question

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1              A.    I provided everything that I have access to
2       right now that I can recall.              I'm only stating that
3       there are likely other papers that I do not have
4       access to, because I did not keep track of it at the
5       time that I read them or looked at them.
6              Q.    Okay.    Have you spoken with Dr. Allan
7       Josephson?
8              A.    Yes, I have.
9              Q.    When?
10             A.    On multiple occasions.
11             Q.    Can you please describe?
12             A.    I met Dr. Josephson within the last year
13      as -- it was probably in the spring at some point in
14      time, the first time that I actually met him.                We've
15      had a number of conversations over this past year,
16      specifically related to his expertise as -- as a
17      psychiatrist and mine as an endocrinologist.               I have
18      drawn upon him for questions related to psychiatric
19      issues that -- that I did not have expertise in, to
20      gather his opinion.
21             Q.    In what capacity did you first
22      counter-interact with Dr. Josephson?
23             A.    It was at a conference that was put together
24      to bring experts from various disciplines to this
25      question of -- of gender dysphoria.

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1              Q.   Who put that conference together?
2              A.   The Alliance Defending Freedom.
3              Q.   The Alliance Defending Freedom is a
4       religiously-affiliated institution, isn't it?
5              A.   If you say so.         I don't pay attention to
6       what their religious affiliation is.
7              Q.   When was this conference?
8              A.   It was in the -- I don't know the exact
9       date, but it was in the spring.
10             Q.   Where was this conference?
11             A.   It was in Phoenix.
12             Q.   Aside from you and Dr. Josephson, do you
13      recall any other experts, physicians or clinicians
14      that attended this conference?
15             A.   Yes, there were -- there was several other
16      psychiatrists and psychologists.                I don't remember
17      their specific names, unfortunately.                There were
18      people that are in the social sciences.                There was one
19      other endocrinologist.          I'm trying to remember who
20      else was there.       There were several lawyers from the
21      ADA.
22             Q.   Do you have any documents pertaining to this
23      conference?
24             A.   Not that I saved, no.
25             Q.   Just to clarify, is there anything you

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1       university, they offer gender-affirming treatment for
2       gender dysphoric youth?
3              A.   Yes, they do.
4              Q.   Do they offer reparative treatment as a
5       treatment for gender dysphoria at Boston Children's
6       Hospital?
7                   MR. KOSTELNIK:         Form.
8              A.   The word reparative therapy covers a lot of
9       connotation by different people but to my
10      understanding, they do not make any specific effort in
11      counseling to lead to the realignment of gender with
12      sex, if that's what you mean by conversion therapy.
13             Q.   Before you started researching the issues of
14      dysphoria around five years ago, had you met with
15      Dr. Spack then?
16                  MR. KOSTELNIK:         Form.
17             A.   Prior to five years ago, I do not recall a
18      specific encounter yet.          I'm sure we interacted at
19      some point at one of the international meetings.
20             Q.   (By Mr. Gonzalez-Pagan) In Paragraph 7, you
21      state that you have met with parents of children with
22      gender dysphoria; is that correct?
23             A.   That is correct.
24             Q.   In what capacity have you met with the
25      parents of transgender children?

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1              A.   Again, this was at the very early time frame
2       when I was trying to investigate the claims for the
3       treatment and care, and I wanted to get as
4       comprehensive of a viewpoint as I could.               The first
5       encounter I had was with a mother of an organization
6       called Trans Parent Child, and I sat down for lunch
7       with her for an extended period of time, more to
8       listen to the experience that she had in countering a
9       transgender child that she had.
10             Q.   With how many parents of transgender
11      children have you met?
12             A.   Met or spoken on the phone?             I think lately
13      many of them have been over the telephone.               I would
14      say it's less than a dozen, but it's quite a few, and
15      it's actually increased certainly since the
16      publication of the "New Atlantis" article.
17             Q.   So in the last five years, you've spoken to
18      less than a dozen parents of transgender children?
19             A.   Yes.
20             Q.   When you first met with the parent of the --
21      associated with the organization Trans Parent, was
22      this before you dealt -- scratch that.
23                  MR. GONZALEZ-PAGAN:            You're going to object
24      anyway.
25             Q.   (By Mr. Gonzalez-Pagan) When you met with

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1       the parent associated with the association Trans
2       Parent, had you already delved into the literature
3       regarding gender dysphoria?
4              A.   I was starting the process.               It was very
5       early on, so I don't recall the exact timing.                 I had
6       read some papers, but I was still in the very early
7       investigative phase.
8              Q.   You said you have been contacted by parents
9       since the publishing of your article "Growing Pains."
10      Is that correct?
11             A.   That is correct.
12             Q.   How many have contacted you since the
13      publishing of the article "Growing Pains"?
14             A.   I'm not keeping track of that.
15             Q.   Less than 35?
16             A.   It may be more than five.               Probably less
17      than a dozen.
18             Q.   What did you discuss with the parents of the
19      transgender children that have contacted you since the
20      publishing of your article "Growing Pains"?
21             A.   I specifically discussed the context of my
22      "New Atlantis" article in my role as a physician,
23      which I always take as being a teacher.                 I try to
24      educate them on my understanding of the condition and
25      the treatment paradigm that was being offered to their

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1       outcome and one with no bias as to what the outcome
2       is.    The goal, my understanding, of the people that I
3       would recommend for psychiatric care would be
4       interested in the best interest of the child for their
5       best psychosocial functioning moving forward.                That is
6       the goal.
7              Q.   Are you aware that reparative therapy is
8       considered harmful by the American Medical
9       Association?
10             A.   I find no scientific justification to
11      support that statement, but they do say that, yes.
12             Q.   Are you aware that the Department of Health
13      and Human Services commissioned a study with regards
14      to conversion therapy?
15             A.   I am familiar with the evidence that's
16      available that's put forward as the evidence that says
17      that it's harmful, and it's by no means definitive
18      information.      There are problems with the studies that
19      limit the ability to make those conclusions.
20             Q.   Just to clarify, you believe reparative
21      therapy is an appropriate option for treatment?
22             A.   I don't believe there's enough evidence to
23      make a definitive statement one way or the other, but
24      I believe that there -- that the psychotherapy that I
25      believe can be helpful, whether it leads to conversion

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1       access the bathrooms as the cause of Drew's distress
2       is not supported.
3              Q.    But you're not a mental health provider,
4       right?
5              A.    That is correct.
6              Q.    And you've never met with Drew, right?
7              A.    That is correct.
8              Q.    Let's go back to the meetings with parents
9       that you had when you were first delving into this
10      topic?
11             A.    Very good.
12             Q.    You discussed that you met with a parent
13      associated with an organization called Trans Parent;
14      is that correct?
15             A.    That is correct.
16             Q.    What did you learn from that meeting?
17             A.    I learned quite few things.            The most
18      important thing that I learned, and that was what I
19      was actually seeking in the interaction, was to really
20      understand the suffering that was going on in this
21      family.     I wanted to understand the dynamics of what
22      was going on in the family, the approach that the
23      parents had in dealing with the presentation of their
24      child, what they had attempted to do to address this
25      particular issue, and at that point in time, I was

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1       approaching this in a purely investigative manner.                    I
2       did more listening than anything else, asking
3       questions about their lived experience.
4              Q.    What did the parent tell you?
5              A.    Well, that was many years ago, but I will
6       try to summarize my recollection of that conversation.
7       This was with the mother.            And she shared that this
8       child, who was a prepubertal in early grade school,
9       told her, when the mother was talking -- they were
10      combing hair or something of that nature -- that she
11      would -- he, at that time, was a girl, so she was
12      referring to him as a girl, and that the parents'
13      reaction initially was shock, fear, trying to
14      understand what was going on, trying to be able at
15      that time -- this was early on in this resurgence --
16      or emergence, I should say of this discussion that's
17      going on socially, so there wasn't, at that time, a
18      lot of resources being published on the Internet.
19                   So she shared her attempt to look at what
20      experience people have had with this particular
21      condition.     And I saw at that time, certainly a parent
22      that was desiring to do the best for their child, but
23      having questions that were not answered, and at that
24      time, with the information I had, I was certainly not
25      able to provide any answers.              And, in fact, at this

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1       point in time, I don't think I would have been able to
2       specifically answer the questions that she had as far
3       as long-term outcomes, because we don't have that
4       information.      It was a very respectful conversation.
5       It was very helpful.         I think that it was mutually
6       beneficial, but, again, the purpose was for me to
7       understand this particular family and their experience
8       with transgender identity.
9              Q.   What is the organization Trans Parent?
10             A.   All I know is it's a -- it's supposed to be
11      a support group, and I think that the parents
12      themselves, the woman I talked to at that time was
13      trying to get out information so other people
14      understood what they were experiencing.
15             Q.   In that meeting with the parents of a
16      transgender -- let me scratch that.
17                  The next set of the questions I'm just going
18      to be focusing on that one parent.
19             A.   Okay.
20             Q.   In that meeting with the parent of the
21      transgender child, did you ever tell the parent that
22      their child was not normal and would never be normal?
23             A.   I did not, because I was still investigating
24      and trying to understand what was going on.
25             Q.   In that meeting with the parent of that

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1       transgender child, did you ever tell that parent that
2       their transgender son was a girl and would never be a
3       boy?
4              A.   I never said that, no.
5              Q.   In that meeting with the parent of that
6       transgender child, have you ever told -- scratch that.
7                   In that meeting with the parent of a
8       transgender child, did you ever tell the parent that
9       surgeries attempting to change sex was wrong and went
10      against God's plan for humanity?
11             A.   No, not that I recall.              That was many years
12      ago, but I don't remember that, no.
13             Q.   In that meeting with the parents of the
14      transgender child, did you not urge them to read Pope
15      John Paul II's writing on gender to fully understand
16      God's plan regarding gender?
17             A.   Thank you for reminding me.              That was a long
18      time ago, so this is bringing back some information.
19      I believe that -- this was a personal conversation.
20      This was a one-on-one conversation, and I think at the
21      time that we began talking about that, she started
22      relating her personal faith training, and I never back
23      away from those conversations when people are asking
24      me those questions, and I think that that's what led
25      to that particular conversation.

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1              Q.   Are you aware that the AMA, quote, "opposes
2       the use of reparative or conversion therapy for sexual
3       orientation or gender identity"?
4                   MR. KOSTELNIK:         Form.
5              A.   I'm aware of the WPATH saying that, and I --
6       I believe it may also be in the AMA statement as well.
7              Q.   (By Mr. Gonzalez-Pagan) Are you aware that
8       the American Academy of Pediatricians has stated that,
9       quote, "In no situation is a referral for conversion
10      or reparative therapy indicated"?
11             A.   I'm aware of that statement, yes.
12             Q.   Are you aware that a publication by the
13      American Psychological Association and the U.S.
14      Department of Health and Human Services states that
15      interventions -- quote, "Interventions aimed at a
16      fixed outcome, such as gender conformity or
17      heterosexual orientation, including those aimed at
18      changing gender identity, gender expression and sexual
19      orientation are coercive, can be harmful and should
20      not be part of the behavior health treatment"?
21                  MR. KOSTELNIK:         Form.
22             A.   I am aware of that statement, but there is
23      no scientific evidence to support that statement.
24             Q.   (By Mr. Gonzalez-Pagan) On what basis do you
25      disagree with that statement?

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1       amount of experience that somebody who is a
2       clinical -- a full-time clinician versus -- now, I --
3       I know from my own experience many people that are
4       listed on those clinical studies were not the ones
5       that designed the trial.           They're not the ones
6       analyzing the data.        Their role usually in those
7       studies, as clinical faculty, are usually in filling
8       out and the protocols that are present for those.                 And
9       now the specifics of the trial that she's involved
10      with, I would have to look in more detail to assess
11      that in -- in greater detail.
12              Q.   Okay.    Do you know what her role is?
13              A.   You'll have to tell me what the study is
14      and -- and give me more information to be able to do
15      that.
16              Q.   Did you review Dr. Ehrensaft's expert --
17      expert report in this case?
18              A.   I did.
19              Q.   Have you published any peer-reviewed
20      literature regarding gender dysphoria or transgender
21      youth?
22              A.   These are questions that I've already
23      answered, and the answer is no.
24              Q.   Okay.    Are you aware that Dr. Ehrensaft has
25      published a number of peer-reviewed articles regarding

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